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                                   UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF ALABAMA
                                           OFFl,CE OF THE CLERK
                                               1 Church Street
                                      MONTGOMERY, ALABAMA 36104-4018

DEBRA P. HACKETT, Clerk of Court                                              Telephone 334 954-3600

                                          February 8, 2022




                                            NOTICE
TO: ALL COUNSEL OF RECORD:

        You are hereby notified that the jury list and jurors' profiles for the term of court

beginning 2/22/2022 will be available at 3:30 p.m. on 2/18/2022, in the Jury Assembly Room

(B-108), first floor, Frank M. Johnson, Jr. United States Courthouse Annex, One Church

Street, Montgomery, Alabama. The Court instructs counsel that the profiles are

CONFIDENTIAL DOCUMENTS and should be treated as such. The information will now

be provided in electronic media (disc) only.              Counsel MUST return ALL discs to the

Courtroom Deputy on the morning of jury selection.

        The attached Juror Questionnaire Certification must be signed by counsel of record.

If counsel designates an alternate person to obtain the juror profiles the designee must also

sign the Juror Questionnaire Certification. The Juror Questionnaire Certification must be

submitted to the Jury Administrator/Clerk's office at the time the juror profiles are obtained.

(This document can be found on our website at www.almd.uscourts.eov).
